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2    Phoenix, Arizona 85068-6945
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4    Terry A. Dake - 009656

5    Attorney for Trustee

6                       IN THE UNITED STATES BANKRUPTCY COURT

7                            FOR THE DISTRICT OF ARIZONA

8    In re:                         )       In Chapter 7 Proceedings
                                    )
9    VALLEY HOSPICE OF ARIZONA, INC.)       Case No. 2:21-BK-08392-PS
                                    )
10                       Debtor.    )
                                    )
11
                             NOTICE OF LODGING ORDER
12
                Please take notice that the attached order has been lodged
13
     with the Court.
14
                DATED March 3, 2023.
15
                                       TERRY A. DAKE, LTD.
16
                                       By /s/ TD009656
17                                       Terry A. Dake
                                         P.O. Box 26945
18                                       Phoenix, Arizona 85068-6945

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